     Case 1:22-cv-10016-LAK Document 102 Filed 03/30/23 Page 1 of 32




                    UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF NEW YORK


E. JEAN CARROLL,

                      Plaintiff,

     v.                                   No. 22 Civ. 10016 (LAK)

DONALD J. TRUMP,

                      Defendant.



                    PROPOSED JURY INSTRUCTIONS




                                    i
             Case 1:22-cv-10016-LAK Document 102 Filed 03/30/23 Page 2 of 32




                                                      TABLE OF CONTENTS

GENERAL INSTRUCTIONS .............................................................................................................................. 3
   1.         Burden of Proof................................................................................................................ 5
   2.         Role of the Court .............................................................................................................. 5
   3.         Role of the Jury ................................................................................................................ 6
   4.         What Is and Is Not Evidence ........................................................................................... 7
   5.         Direct and Circumstantial Evidence ................................................................................ 7
   6.         Evidence Outside of the Courtroom ................................................................................ 9
   7..        Deposition Testimony (If Necessary) .............................................................................. 9
   8.         Demonstratives ................................................................................................................ 9
   9.         Credibility of Witnesses ................................................................................................. 11
    10.        Interest in Outcome…………………………………………………………………………………………………………….11
    11.        Prior Perjury………………………………………………………………………….. 12
   12.        Similar Acts of Sexual Assault....................................................................................... 13
   13.        Expert Testimony ........................................................................................................... 14
LIABILITY INSTRUCTIONS............................................................................................................................. 16
   14.        Battery ............................................................................................................................ 16
   15.        Form of Battery .............................................................................................................. 16
   16.        Forcible Touching .......................................................................................................... 17
   17.        Sexual Abuse .................................................................................................................. 17
   18.        Rape................................................................................................................................ 17
   19.        Proximate Cause ............................................................................................................. 18
   20.        Battery Damages ............................................................................................................ 20
   21.        Punitive Damages ........................................................................................................... 19
   22.        Defamation ..................................................................................................................... 23
   23.        Defamatory Meaning...................................................................................................... 24
    24.        Of and Concerning the Plaintiff ………………………………………..…………….22
   25.        Publication...................................................................................................................... 24
   26.        Falsity ............................................................................................................................. 25
   27.        Actual Malice ................................................................................................................. 25
   28.        Defamation Damages ..................................................................................................... 26


                                                                          i
            Case 1:22-cv-10016-LAK Document 102 Filed 03/30/23 Page 3 of 32




   29.        Punitive Damages ........................................................................................................... 26
CLOSING INSTRUCTIONS ............................................................................................................................. 27
   30.        Duty to Deliberate .......................................................................................................... 27
   31.        Juror Notes ..................................................................................................................... 28
   32.        Quorum Requirement ..................................................................................................... 28
   33.        Selecting a Foreperson ................................................................................................... 29
   34.        Verdict Form .................................................................................................................. 29
   35.        Instructions ..................................................................................................................... 29
   36.        Reaching a Verdict ......................................................................................................... 29
   37.        Juror Questions ............................................................................................................... 30
   38.        Requests for Testimony .................................................................................................. 30
   39.        Media.............................................................................................................................. 30
   40.        Juror Oath ....................................................................................................................... 31




                                                                         ii
        Case 1:22-cv-10016-LAK Document 102 Filed 03/30/23 Page 4 of 32




                                  GENERAL INSTRUCTIONS

       1. Burden of Proof

       The party with the burden of proof on any given issue has the burden of proving every

disputed element of his or her claim to you by a preponderance of the evidence. If you conclude

that the party bearing the burden of proof has failed to establish his or her claim by a preponderance

of the evidence, you must decide against him or her on the issue you are considering.

       What does a “preponderance of evidence” mean? To establish a fact by a preponderance

of the evidence means to prove that the fact is more likely true than not true. In other words, a

preponderance of the evidence means the greater weight of the evidence—or, put another way, a

party has proven something by a preponderance of the evidence when they have demonstrated that

the odds that they are right on that question are more than 50/50, even if only by a very tiny amount.

This standard refers to the quality and persuasiveness of the evidence, not to the number of

witnesses or documents. In determining whether a claim has been proved by a preponderance of

the evidence, you may consider the relevant testimony of all witnesses, regardless of who may

have called them, and all the relevant exhibits received in evidence, regardless of who may have

produced them.

       If, after considering all the evidence, you find that the credible evidence on a given issue

is evenly divided between the parties—in other words, that the chances of the plaintiff’s contention

or the defendant’s contention being correct with respect to a particular question are exactly equal—

then you must decide that issue against the party having this burden of proof. That is because the

party bearing this burden must prove more than simple equality of evidence—he or she must prove

the element at issue by a preponderance of the evidence. On the other hand, the party with this

burden of proof need prove no more than a preponderance. So long as you find that the scales tip,


                                                  3
        Case 1:22-cv-10016-LAK Document 102 Filed 03/30/23 Page 5 of 32




however slightly, in favor of the party with this burden of proof—that what the party claims is

more likely true than not true—then that element will have been proved by a preponderance of

evidence. On the other hand, if you find that the scales do not so tip, then that element will not

have been proven by a preponderance of evidence.

       Some of you may have heard of proof beyond a reasonable doubt, which is the proper

standard of proof in a criminal trial. That requirement does not apply to a civil case such as this

and you should put it out of your mind.

       However, as I will explain later in these instructions, for some of Ms. Carroll’s specific

contentions, she has the burden of proving those contentions by clear and convincing evidence.

       What does “clear and convincing evidence” mean? On the one hand, clear and convincing

evidence is a more exacting standard than proof by a preponderance of the evidence, where you

need believe only that a party’s claim is more likely true than not true. On the other hand, “clear

and convincing” proof is not as high a standard as proof beyond a reasonable doubt. Clear and

convincing proof leaves no substantial doubt in your mind. It is proof that establishes in your mind,

not only the proposition at issue is probable, but also that it is highly probable. It is enough if the

party with the burden of proof establishes his claim beyond any “substantial doubt”; he does not

have to dispel every “reasonable doubt.”

       Source: 4 Modern Federal Jury Instructions-Civil ¶ 73.01 (2022) (Instructions 73-2 & 73-

3) (modified).




                                                  4
        Case 1:22-cv-10016-LAK Document 102 Filed 03/30/23 Page 6 of 32




       2. Role of the Court

       You have now heard all of the evidence in the case as well as the final arguments of the

lawyers for the parties. My duty at this point is to instruct you as to the law. It is your duty to

accept these instructions of law and apply them to the facts as you determine them, just as it has

been my duty to preside over the trial and decide what testimony and evidence is relevant under

the law for your consideration.

       On these legal matters, you must take the law as I give it to you. If any attorney has stated

a legal principle different from any that I state to you in my instructions, it is my instructions that

you must follow. You should not single out any instruction as alone stating the law, but you should

consider my instructions as a whole when you retire to deliberate in the jury room. You should

not, any of you, be concerned about the wisdom of any rule that I state. Regardless of any opinion

that you may have as to what the law may be—or ought to be—it would violate your sworn duty

to base a verdict upon any other view of the law than that which I give you.

       Source: 4 Modern Federal Jury Instructions-Civil ¶ 71.01 (2022) (Instruction 71-2)

(modified).




                                                  5
        Case 1:22-cv-10016-LAK Document 102 Filed 03/30/23 Page 7 of 32




       3. Role of the Jury

       As members of the jury, you are the sole and exclusive judges of the facts. You pass upon

the evidence. You determine the credibility of the witnesses. You resolve such conflicts as there

may be in the testimony. You draw whatever reasonable inferences you decide to draw from the

facts as you have determined them, and you determine the weight of the evidence.

       In determining these issues, no one may invade your province or functions as jurors. In

order for you to determine the facts, you must rely upon your own recollection of the evidence.

What the lawyers have said in their opening statements, in their closing arguments, in their

objections, or in their questions is not evidence. Nor is what I may have said—or what I may say

in these instructions—about a fact, issue, or evidence. In this connection, you should bear in mind

that a question put to a witness is never evidence, it is only the answer which is evidence. But you

may not consider any answer that I directed you to disregard or that I directed struck from the

record. Do not consider such answers.

       Since you are the sole and exclusive judges of the facts, I do not mean to indicate any

opinion as to the facts or what your verdict should be. The rulings I have made during the trial are

not any indication of my views of what your decision should be as to whether or not a party has

proven his or her case. I also ask you to draw no inference from the fact that upon occasion I asked

questions of certain witnesses. These questions were only intended for clarification or to expedite

matters and certainly were not intended to suggest any opinions on my part as to the verdict you

should render, or whether any of the witnesses may have been more credible than any other

witnesses. You are expressly to understand that the court has no opinion as to the verdict you

should render in this case.

       You are to decide the case without any bias or prejudice to any party, based solely on the

evidence and these instructions.
                                                 6
        Case 1:22-cv-10016-LAK Document 102 Filed 03/30/23 Page 8 of 32




       Source: 4 Modern Federal Jury Instructions-Civil ¶ 71.01 (2022) (Instructions 71-3)

(modified).

       4. What Is and Is Not Evidence

        The evidence in this case is the sworn testimony of the witnesses, the exhibits received in

evidence, stipulations, and judicially noticed facts.

       By contrast, the questions of the lawyers are not to be considered by you as evidence. It is

the witnesses’ answers that are evidence, not the questions. At times, a lawyer may have

incorporated into a question a statement which assumed certain facts to be true, and asked the

witness if the statement was true. If the witness denied the truth of a statement, and if there is no

direct evidence in the record proving that assumed fact to be true, then you may not consider it to

be true simply because it was contained in the lawyer’s question.

       The famous example of this is the lawyer’s questions of a married witness: “When did you

stop beating your wife?” You would not be permitted to consider as true the assumed fact that he

ever beat his wife, unless the witness himself indicated he had, or unless there was some other

evidence in the record that he had beaten his wife.

       Testimony that has been stricken or excluded is not evidence and may not be considered

by you in tendering your verdict. Also, if certain testimony was received for a limited purpose –

such as for the purpose of assessing a witness’s credibility – you must follow the limiting

instructions I have given.

       Arguments by lawyers are not evidence, because the lawyers are not witnesses. What they

have said to you in their opening statements and in their summations is intended to help you

understand the evidence to reach your verdict. However, if your recollection of the facts differs

from the lawyers’ statements, it is your recollection which controls.



                                                  7
        Case 1:22-cv-10016-LAK Document 102 Filed 03/30/23 Page 9 of 32




       To constitute evidence which may be considered by you, exhibits must be received in

evidence. Exhibits marked for identification but not admitted are not evidence, nor are materials

brought forth only to refresh a witness’ recollection.

       Finally, statements which I may have made concerning the quality of the evidence do not

constitute evidence.

       If is for you alone to decide the weight, if any, to be given to the testimony you have heard

and the exhibits you have seen.

       Source: 4 Modern Federal Jury Instructions-Civil ¶ 74.01 (2022) (Instruction 74-1)

(modified).

       5. Direct and Circumstantial Evidence

       There are two types of evidence which you may properly use in reaching your verdict. One

type of evidence is direct evidence. Direct evidence is when a witness testifies about something he

knows by virtue of his own senses—something he has seen, felt, touched, or heard. Direct evidence

may also be in the form of an exhibit when the fact to be proved is its present existence or condition.

       The other type of evidence is circumstantial evidence. This is evidence which tends to

prove a disputed fact by proof of other facts. There is a simple example of circumstantial evidence

which is often used in this courthouse. Assume that when you came into the courthouse this

morning the sun was shining and it was a nice day. Assume that the courtroom blinds were drawn

and you could not look outside. As you were sitting here, someone walked in with an umbrella

which was dripping wet. Then a few minutes later another person also entered with a wet umbrella.

Now, you cannot look outside of the courtroom and you cannot see whether or not it is raining. So

you have no direct evidence of that fact. But on the combination of facts which I have asked you

to assume, it would be reasonable and logical for you to conclude that it had been raining. That is



                                                  8
        Case 1:22-cv-10016-LAK Document 102 Filed 03/30/23 Page 10 of 32




all there is to circumstantial evidence. You infer on the basis of reason and experience and common

sense from one established fact the existence or non-existence of some other fact.

        Circumstantial evidence is of no less value than direct evidence; for, it is a general rule that

the law makes no distinction between direct evidence and circumstantial evidence but simply

requires that your verdict must be based on all the evidence presented.

        Source: 4 Modern Federal Jury Instructions-Civil ¶ 74.01 (2022) (Instruction 74-2)

(modified).

        6. Evidence Outside of the Courtroom

        Of course, I remind you you’re to only consider evidence that you saw or heard in this

courtroom. Anything that you may have learned elsewhere that has a bearing on this case or might

be relevant to this case should be put out of your mind and disregarded.

        Source: Based on this Court’s instructions in Rapp v. Fowler, No. 20 Civ. 9586 (S.D.N.Y.).

        7. Deposition Testimony (If Necessary)

        Some of the testimony before you is in the form of a videotaped deposition that was received

in evidence. A deposition is simply a procedure where prior to trial the attorneys may question a

witness or an adversary party under oath before a court stenographer. You may consider the

testimony of a witness given at a deposition according to the same standards you would use to

evaluate the testimony of a witness given live at trial.

        Source: 4 Modern Federal Jury Instructions-Civil ¶ 74.07 (2022) (Instruction 74-14)

(modified).

        8. Demonstratives

        There were times during the course of the trial where counsel for each side had marked and

showed to you exhibits called demonstratives. They were shown to you to help you understand the



                                                   9
       Case 1:22-cv-10016-LAK Document 102 Filed 03/30/23 Page 11 of 32




evidence as it came in. They are not themselves evidence, and they were used only as a manner of

convenience, so you should consider them (or not) accordingly.

       Source: Based on this Court’s instructions in Cerveceria Modelo de Mexico, S. de R.L. de

C.V. v. CB Brand Strategies, LLC, No. 21 Civ. 01317 (S.D.N.Y.).

       9.   Credibility of Witnesses

       You have had the opportunity to observe all of the witnesses. It is now your job to decide

how believable each witness was in his or her testimony. You are the sole judges of the credibility

of each witness and of the importance of his or her testimony.

       It must be clear to you by now that you are being called on to resolve various factual issues

raised by the parties in the face of very different pictures painted by both sides. It must also be

obvious to you that both sides cannot be true and this is where you play your role as jurors. In

making these judgments, you should carefully scrutinize all of the testimony of each witness, the

circumstances under which each witness testified, and any other matter in evidence that may help

you decide the truth and the importance of each witness’s testimony.

       How do you determine where the truth lies? You watched each witness testify. Everything

a witness said or did on the witness stand counts in your determination. How did the witness

impress you? Did he or she appear to be frank, forthright, and candid, or evasive and edgy as if

hiding something? How did the witness appear; what was his or her demeanor—that is, his or her

carriage, behavior, bearing, manner, and appearance while testifying? Often it is not what a person

says but how he or she says it that moves us.

       You should use all the tests for truthfulness that you would use in determining matters of

importance to you in your everyday life. You should consider any bias or hostility the witness may

have shown for or against any party as well as any interest the witness has in the outcome of the

case. You should consider the opportunity the witness had to see, hear, and know the things about
                                                10
        Case 1:22-cv-10016-LAK Document 102 Filed 03/30/23 Page 12 of 32




which he or she testified, the accuracy of the witness’s memory, the witness’s candor or lack of

candor, the witness’s intelligence, the reasonableness and probability of the witness’s testimony

and its consistency or lack of consistency and its corroboration or lack of corroboration with other

credible testimony. In other words, what you must try to do in deciding credibility is to size a

witness up in light of his or her demeanor, the explanations given, and all of the other evidence in

the case. Always remember that you should use your common sense, your good judgment, and

your own life experience.

        In deciding whether to consider whether to believe a witness, you should specifically note

any evidence of hostility or affection that the witness may have towards one of the parties.

Likewise, you should consider evidence of any other interest of motive that the witness may have

in cooperating with a particular party. It is your duty to consider whether the witness has permitted

any such bias or interest to color his or her testimony. In short, if you find that a witness is biased,

you should view his testimony with caution, weigh it with care, and subject it to close and

searching scrutiny.

        Sources: 4 Modern Federal Jury Instructions-Civil P 76.01 (2022) (Instructions 76-1 & 76-

2) (modified).

        10.      Interest in Outcome

        In evaluating the credibility of the witnesses, you should take into account any evidence

that a witness may benefit in some way from the outcome of the case. Such interest in the outcome

creates a motive to testify falsely and may sway a witness to testify in a way that advances his own

interests. Therefore, if you find that any witness whose testimony you are considering may have

an interest in the outcome of this trial, then you should bear that factor in mind when evaluating

the credibility of his or her testimony, and accept it with great care.



                                                  11
         Case 1:22-cv-10016-LAK Document 102 Filed 03/30/23 Page 13 of 32




         Keep in mind, though, that it does not automatically follow that testimony given by an

interested witness is to be disbelieved. There are many people, who, no matter what their interest

in the outcome of the case may be, would not testify falsely. It is or you to decide, based on your

own perceptions and common sense, to what extent, if at all, the witness’s interest has affected his

testimony.

         Source: 4 Modern Federal Jury Instructions-Civil P 76.01 (2022) (Instruction 76-3).

         11.    Prior Perjury

         There has been evidence that a witness who testified at this trial lied under oath at a

previous proceeding. I must warn you that the testimony of any witness who you find did

previously and deliberately lie under oath should be viewed cautiously and weighed with great

care.

         Source: 4 Modern Federal Jury Instructions-Civil P 76.01 (2022) (Instruction 76-8).

         12.    False In One, False in All (Falsus in Uno, Falsus in Omnibus)

         If you believe that a witness knowingly testified falsely concerning any important matter,

you may distrust the witness’s testimony concerning other matters. You may reject all of the

testimony or you may accept such parts of the testimony that you believe are true and give it such

weight as you think it deserves.

         Source: Mod. Crim. Jury Instr. 3d Cir. 4.26 (2023), Mod. Crim. Jury Instr. 3d Cir. 4.26
(2023)




                                                 12
         Case 1:22-cv-10016-LAK Document 102 Filed 03/30/23 Page 14 of 32




        13. Similar Acts of Sexual Assault

        Plaintiff contends that there has been evidence received during the trial that Mr. Trump

engaged in sexual assaults which were purportedly similar in nature to the alleged sexual assault

that Mr. Trump purportedly committed against plaintiff.

        You may only consider those other alleged sexual assaults in this case if you find by a

preponderance of the evidence both that they occurred and that such alleged sexual assaults

involved Mr. Trump contacting or attempting to contact the genitals of the other women. If you

do not find by a preponderance of the evidence both that such alleged sexual assaults occurred and

that Mr. Trump contacted or attempted to contact the genitals of the other women during such

alleged sexual assaults, then you may not consider those other alleged sexual assaults in this case.

Genitals of a woman only includes the sexual or reproductive organs located on the outside of her

body, but does not include any other part of her body such as her breasts, buttocks, legs, arms,

face, lips, etc.

        When a claim for damages is based on a defendant’s commission of a sexual assault,

evidence that that the defendant has committed any other sexual assault involving the genitals of

a woman is admissible and may be considered for its bearing on whether that defendant committed

the sexual assault which plaintiff alleges was committed against her. However, evidence of

another sexual assault on its own is not sufficient to prove that the defendant committed the alleged

sexual assault against Plaintiff. As you consider this evidence, bear in mind at all times that

Plaintiff has the burden of proving that the defendant committed the alleged sexual assault against

her.

 [Carroll v. Trump, No. 20-CV-7311 (LAK), 2023 WL 2441795, at *6–7 (S.D.N.Y. Mar. 10,
2023); Fed.R.Evid. 413(d)(2) and (5).]




                                                 13
        Case 1:22-cv-10016-LAK Document 102 Filed 03/30/23 Page 15 of 32




Other Source: 4 Modern Federal Jury Instructions-Civil P 74.03 (2022) (Instruction 74-8.1)
(modified); https://www.merriam-webster.com/dictionary/genitals; United States v. McDonald, 78
M.J. 669, 679 (N-M. Ct. Crim. App. 2018)(“The Attorney’s Dictionary of Medicine defines
genitalia as ‘[t]he genital or reproductive organs, especially the external organs as distinguished
from those inside the body,’ and specifically lists the female genitalia as including ‘the mons
veneris, clitoris, vagina, the labia majora and minora, etc.”).


        14. Expert Testimony

        In this case, I have permitted Professor Humphreys, Dr. Lebowitz, and Dr. Nace, to express

their opinions about matters that are in issue. A witness may be permitted to testify to an opinion

on those matters about which he or she has special knowledge, skill, experience, and training. Such

testimony is presented to you on the theory that someone who is experienced and knowledgeable

in the field can assist you in understanding the evidence or in reaching an independent decision on

the facts.

        In weighing this opinion testimony, you may consider the witness’s qualifications, his or

her opinions, the reasons for testifying, as well as all of the other considerations that ordinarily

apply when you are deciding whether or not to believe a witness’s testimony. You may give the

opinion testimony whatever weight, if any, you find it deserves in light of all the evidence in this

case. You should not, however, accept opinion testimony merely because I allowed the witness to

testify concerning his or her opinion. Nor should you substitute it for your own reason, judgment,

and common sense. You also may reject the testimony of any expert witness in whole or in part if

you conclude that the reasons given in support of an opinion are not sound or if you, for other

reasons, simply don’t believe the witness. The determination of the facts in this case rests solely

with you.

        The testimony of the experts called by the parties may have conflicted in some respects.

Where you have heard conflicting testimony from expert witnesses, it is your job to resolve the


                                                 14
        Case 1:22-cv-10016-LAK Document 102 Filed 03/30/23 Page 16 of 32




disagreement. The way you resolve the conflict between these witnesses is the same way that you

decide other fact questions and the same way you decide whether to believe ordinary witnesses. In

addition, because they gave their opinions, you should consider the soundness of each opinion, the

reasons for the opinion, and the witness’s motive, if any, for testifying.

       Sources: 4 Modern Federal Jury Instructions-Civil P 76.01 (2022) (Instructions 76-9 & 76-

10) (modified).




                                                 15
        Case 1:22-cv-10016-LAK Document 102 Filed 03/30/23 Page 17 of 32




                                 LIABILITY INSTRUCTIONS

       15. Battery

       In this action, plaintiff seeks damages for battery. A person who intentionally touches

another person, without that person’s consent, and causes and offensive bodily contact commits a

battery and is liable for all damages resulting from his act.

       Intent involves the state of mind with which an act is done. The intent required for battery

is intent to cause a bodily contact that a reasonable person would find offensive. An offensive

bodily contact is one that is done for the purpose of harming another or one that offends a

reasonable sense of personal dignity, or one that is otherwise wrongful.

       Plaintiff claims that defendant committed a sexual assault. If you find that defendant

intentionally committed the sexual assault and that the contact was offensive, you will find that

defendant committed a battery. If you find that defendant did not intentionally, or that such contact

was not offensive, you will find that defendant did not commit a battery.

       Source: N.Y. Pattern Jury Instr. Civil 3:3 (modified).


       16. Form of Battery

       If you find that defendant committed battery, you must also determine, by a preponderance

of the evidence, whether he committed any of three violations of New York law: (1) forcible

touching; (2) sexual abuse; or (3) rape. Defendant cannot be held liable for battery in this case

unless he violated at least one of these laws in his interaction with Plaintiff at Bergdorf Goodman.

I will now instruct you on the elements of these violations of law.

       Source: N.Y. CPLR § 214-j.




                                                 16
        Case 1:22-cv-10016-LAK Document 102 Filed 03/30/23 Page 18 of 32




       17. Forcible Touching

        Under New York law, a person is liable for forcible touching when that person

intentionally, and for no legitimate purpose, forcibly touches the sexual or other intimate parts of

another person for the purpose of degrading or abusing such person or for the purpose of gratifying

their own sexual desire. Forcibly touching another can include squeezing, grabbing, pinching,

rubbing, or other bodily contact involving the application of some level of pressure to the plaintiff’s

sexual or intimate parts.

       The sexual act must have been committed without consent. Forcible touching takes place

without a plaintiff’s consent when it results from any circumstances in which a plaintiff does not

expressly or impliedly consent to the defendant’s conduct. Intent means conscious objective or

purpose. Thus, a defendant intentionally forcibly touches the sexual or other intimate parts of a

plaintiff when the defendant’s conscious objective or purpose is to do so.

       In order for you to find that Mr. Trump forcibly touched Ms. Carroll, Ms. Carroll is required

to prove, by a preponderance of the evidence, that:

       1. Defendant forcibly touched the sexual or other intimate parts of Ms. Carroll for the
          purpose of degrading or abusing her, or for the purpose of gratifying defendant’s sexual
          desire;
       2. Defendant did so intentionally and for no legitimate purpose; and
       3. Defendant did so without the consent of Ms. Carroll in that she did not expressly or
          impliedly consent to defendant’s conduct.

       Source: N.Y. Criminal Jury Instr. & Model Colloquies § 130.52(1) (modified).

     18. Sexual Abuse

       A person is liable for sexual abuse when he subjects another person to sexual contact

without her consent. The following terms used in that definition have a special meaning:

       “Sexual contact” means any touching of the sexual or other intimate parts of a person for

the purpose of gratifying the sexual desire of either party. It includes the touching of the defendant

                                                  17
        Case 1:22-cv-10016-LAK Document 102 Filed 03/30/23 Page 19 of 32




by the plaintiff as well as the touching of the plaintiff by the defendant, whether directly or through

clothing. Sexual contact takes place without a person’s consent when the lack of consent results

from “forcible compulsion.” Forcible compulsion, in turn, means to intentionally compel by the

use of physical force.

       In order for you to find that Mr. Trump’s engaged in sexual abuse, Ms. Carroll is required

to prove, by a preponderance of the evidence, that:

           1. Defendant subjected Ms. Carroll to sexual contact; and
           2. Defendant did so without Ms. Carroll’s consent by the use of forcible compulsion.

Source: N.Y. Criminal Jury Instr. & Model Colloquies § 130.55 (modified).

         19.     Rape

       Under New York law, a person is liable of rape when a person engages in sexual intercourse

with another person by forcible compulsion. It is also required that the sexual act was committed

without consent. Sexual intercourse takes place without a person’s consent when the lack of

consent results from forcible compulsion. Forcible compulsion, as mentioned earlier, means to

intentionally compel by the use of physical force.

       For purposes of this law, “sexual intercourse” means any penetration, however slight, of

the penis into the vaginal opening. In other words, any penetration of the penis into the vaginal

opening, regardless of the distance of penetration, constitutes an act of sexual intercourse. Sexual

intercourse does not necessarily require erection of the penis, emission of semen, or orgasm on the

part of the defendant.

       In order for you to find that defendant engaged in rape, Ms. Carroll is required to prove,

from all of the evidence in the case, by a preponderance of the evidence, that:

           1. Defendant engaged in sexual intercourse with Ms. Carroll; and
           2. Defendant did so without Ms. Carroll’s consent by the use of forcible compulsion.


                                                  18
        Case 1:22-cv-10016-LAK Document 102 Filed 03/30/23 Page 20 of 32




       Source: N.Y. Criminal Jury Instr. & Model Colloquies§ 130.35(1) (modified).

         20. Proximate Cause

       An act or omission is regarded as a cause of an injury, that is if it had such an effect in

producing the injury that reasonable people would regard it as a cause of the injury. There may be

more than one cause of an injury, but to be substantial, it cannot be slight or trivial. You may,

however, decide that a cause is substantial even if you assign a relatively small percentage to it.

       There may be more than one cause of an injury. Where the independent and negligent acts

or omissions of two or more parties cause injury to another, each of those negligent acts or

omissions is regarded as a cause of that injury provided that it was a substantial factor in bringing

about that injury.

       Sources: N.Y. Pattern Jury Instr. Civil 2:70, 2:71 (modified).


         21. Battery Damages

       I will now instruct you on the law of damages for battery. My instruction to you on this

issue must not be taken as a suggestion that you should find for the plaintiff. It is for you to decide

on the evidence presented and the rules of law I have just given you whether the plaintiff is entitled

to recover from the defendant. If you decide that the plaintiff is not entitled to recover from the

defendant, you need not consider damages. Only if you decide that the plaintiff is entitled to

recover will you consider the amount of damages.

       If you find that the plaintiff is entitled to recover from the defendant, you must render a

verdict in a sum of money that will justly and fairly compensate the plaintiff for all losses resulting

from the injuries plaintiff sustained.




                                                  19
        Case 1:22-cv-10016-LAK Document 102 Filed 03/30/23 Page 21 of 32




       Now, you may award damages only for those injuries, if any, that you find that the plaintiff

has proved by a preponderance of the evidence. Actual damages must not be based on speculation

or sympathy.

       Sources: N.Y. Pattern Jury Instr. Civil 2:227 (modified).

       22. Punitive Damages

       In addition to awarding damages to compensate the plaintiff for her injuries, you may, but

you are not required to, award Ms. Carroll punitive damages if you find that the acts of defendant

that caused Mr. Carroll’s injury complained of were wanton and reckless or malicious. Punitive

damages may be awarded for conduct that represents a high degree of immorality. The purpose of

punitive damages is not to compensate the plaintiff, but to punish the defendant for wanton and

reckless, or malicious acts and thereby to discourage the defendant and other people like him from

acting in a similar way in the future.

       An act is malicious when it is done deliberately with knowledge of the plaintiff’s rights,

and with the intent to interfere with those rights. An act is wanton and reckless when it

demonstrates conscious indifference and utter disregard of its effect upon the health, safety and

rights of others. If you find that defendant’s acts were not wanton and reckless or malicious, you

need proceed no further in your deliberations on this issue of punitive damages. On the other hand,

if you find that defendant’s acts were wanton and reckless or malicious, you may award Ms. Carroll

punitive damages.

       In arriving at your decision as to the amount of punitive damages, you should consider the

nature and reprehensibility of what defendant did. That would include the character of the

wrongdoing, whether defendant’s conduct demonstrated an indifference to, or a reckless disregard

of, the health, safety or rights of others, whether the act was done with an improper motive or


                                                20
       Case 1:22-cv-10016-LAK Document 102 Filed 03/30/23 Page 22 of 32




vindictiveness, whether the act or acts constituted outrageous or oppressive intentional

misconduct, how long the conduct went on, defendant’s awareness of what harm the conduct

caused or was likely to cause, any concealment or covering up of the wrongdoing, how often

defendant had committed similar acts of this type in the past and the actual and potential harm

created by defendant’s conduct including the harm to individuals or entities other than Ms. Carroll.

However, although you may consider the harm to individuals or entities other than Ms. Carroll in

determining the extent to which Mr. Trump’s conduct was reprehensible, you may not add a

specific amount to your punitive damages award to punish defendant for the harm defendant

caused to others.

       The amount of punitive damages that you award must be both reasonable and proportionate

to the actual and potential harm suffered by Ms. Carroll, and to the compensatory damages you

awarded Ms. Carroll. The reprehensibility of defendant’s conduct is an important factor in deciding

the amount of punitive damages that would be reasonable and proportionate in view of the harm

suffered by Ms. Carroll and the compensatory damages you have awarded her.

       Source: N.Y. Pattern Jury Instr. Civil 2:278 (modified).




                                                21
        Case 1:22-cv-10016-LAK Document 102 Filed 03/30/23 Page 23 of 32




       23. Defamation

       Ms. Carroll’s second cause of action is based on defamation or libel. A libel is a false

statement about a person, in writing, that tends to expose the person to public hatred, contempt,

ridicule or disgrace.

       Plaintiff claims that defendant posted a defamatory statement about her on the social media

site Truth Social on October 12, 2022, which is set forth as follows:

        This ‘Ms. Bergdorf Goodman case’ is a complete con job. … She completely made up
        a story that I met her at the doors of this crowded New York City Department Store
        and, within minutes, ‘swooned’ her. It is a Hoax and a lie, …. She has no idea what
        day, what week, what month, what year, or what decade this so-called ‘event’
        supposedly took place. The reason she doesn’t know is because it never happened,
        and she doesn’t want to get caught up with details or facts that can be proven wrong.
        If you watch Anderson Cooper’s interview with her, where she was promoting a really
        crummy book, you will see that it is a complete Scam. She changed her story from
        beginning to end, after the commercial break, to suit the purposes of CNN and
        Andy Cooper. … In the meantime, and for the record, E. Jean Carroll is not telling
        the truth, is a woman who I had nothing to do with, didn’t know, and would have no
        interest in knowing her if I ever had the chance.

       To recover damages for libel, plaintiff has the burden of proving five distinct elements. If

the plaintiff has proved all of these elements, you should decide in her favor and go on to determine

the amount of damages. However, if plaintiff failed to prove any one of these elements, plaintiff

may not recover. Ms. Carroll failed to prove any one of these elements, she may not recover.

       First, plaintiff must prove by a preponderance of the evidence that the statement was

defamatory, meaning that the statement had a tendency to expose plaintiff to public hatred,

contempt, ridicule or disgrace. Second, Ms. Carroll must prove by a preponderance of the evidence

that the statement referred to her, meaning that the statement would be reasonably understood to

be about Ms. Carroll. Third, plaintiff must prove by a preponderance of the evidence defendant

published the statement, meaning that he communicated the statement to someone other than Ms.

Carroll herself. Fourth, plaintiff must prove by clear and convincing evidence that the statement


                                                 22
        Case 1:22-cv-10016-LAK Document 102 Filed 03/30/23 Page 24 of 32




was false, meaning substantially untrue. Fifth, Ms. Carroll must prove, also by clear and

convincing evidence, that when Mr. Trump made the statement, he either knew that it was false or

acted in reckless disregard of the truth or falsity of the statement.

       You will notice that I told you that Ms. Carroll must prove the first three of these elements

of her libel claim by a “fair preponderance of the evidence” and the last two elements by “clear

and convincing evidence.” I have described these burdens of proof already.

       Sources: N.Y. Pattern Jury Instr. Civil 3:23 (modified).

       24. Defamatory Meaning

       The first question for you to decide is whether defendant’s statement was defamatory. A

statement is defamatory if it tends to expose the plaintiff to public hatred, contempt, ridicule or

disgrace – that is, if it would tend to lead the average person in the community to form an evil or

bad opinion of the plaintiff. A statement is also defamatory if it tends to discredit the plaintiff in

the conduct of her occupations, trade or office.

       Not every unpleasant or uncomplimentary statement is defamatory. A statement that is

merely unpleasant, offensive or embarrassing, or that hurts the plaintiff’s feelings, is not

necessarily defamatory. Because language often has different meanings, the law imposes upon the

plaintiff the burden of proving that statement about which plaintiff complains would in fact be

understood by the average person as defamatory.

       If you find that the statement did not tend to expose Ms. Carroll to public hatred, contempt,

ridicule or disgrace or to discredit her in the conduct of her occupation, profession, trade or office,

then you need proceed no further and report to the Court. If you find from the evidence that Ms.

Carroll has proved that the statement in the article tended to expose her to public hatred, contempt,

ridicule or disgrace or to discredit the plaintiff in the conduct of her occupation, profession, trade



                                                   23
        Case 1:22-cv-10016-LAK Document 102 Filed 03/30/23 Page 25 of 32




or office, then you must find the statement defamatory and proceed to consider the remaining four

elements.

       Source: N.Y. Pattern Jury Instr. Civil 3:24 (modified).

       25. Of and Concerning the Plaintiff

       The second element plaintiff must prove is that the statement referred to her; that is, the

plaintiff must have understood the statement was communicated to third persons who reasonably

would have understood the statement to refer to the plaintiff.

       The publication does not mention plaintiff by name, but plaintiff claims that it would be

commonly understood by readers of average intelligence that the article referred to her. If you

find that it would commonly understood by such readers from the content of the article, taken

according to the customary use of language, and from facts about plaintiff known to such readers

that the article refererd to the plaintiff, then you must consider the remaining elements of plaintiff’s

case. If you find that it would not be commonly understood by readers of average intelligence

from the content of the article, taken according to the customary use of language, and from facts

about plaintiff known to such readers that the article referred to plaintiff, then you need proceed

no further and report to the Court.

       Source: N.Y. Pattern Jury Instr. Civil 3:25 (modified).

       26. Publication

       The third element that plaintiff must prove is that defendant published the statement, that

is, that the defendant’s October 12, 2022 statement on Truth Social was read by some person or

persons other than the plaintiff.

       If you find that defendant’s statement was read by someone other than the plaintiff, then

you must proceed to consider the other elements of plaintiff’s case. If you find that defendant’s



                                                  24
       Case 1:22-cv-10016-LAK Document 102 Filed 03/30/23 Page 26 of 32




statement was read by someone other than the plaintiff, then you do not need to proceed further

and report to the Court.

       Source: N.Y. Pattern Jury Instr. (modified).

       27.     Falsity

       The next question for you to decide is whether the statement was false. A statement is false

if it is not substantially true.   Minor inaccuracies in the statement may be disregarded in

determining whether the statement is false.

       You will determine from the evidence presented what the truth was and then compare that

written statement which you find was made by the defendant, taking that statement according to

the ordinary meaning of the words. If you find that the statement was false, then you must proceed

to consider the other elements of plaintiff’s case. If you find that the statement is true, then you

do not need to proceed further and report to the Court.

       Source: N.Y. Pattern Jury Instr. Civil 3:27 (modified).

       28. Actual Malice

       The next question for you to decide is whether plaintiff has proved by clear and convincing

evidence, as I have defined that term for you, that when defendant made the statement, defendant

knew it was false or acted in reckless disregard of its truth or falsity. Reckless disregard means

that when defendant made the statement, he had serious doubts as to the truth of the statement or

made the statement with a high degree of awareness that it was probably false.

       If you find that the plaintiff has proved by clear and convincing evidence that when

defendant made the statement, he knew it was false or acted in reckless disregard of its truth or

falsity, then you must proceed to consider the other elements of plaintiff’s case. If you find that

plaintiff has not proved by clear and convincing evidence that when defendant made the statement,



                                                25
        Case 1:22-cv-10016-LAK Document 102 Filed 03/30/23 Page 27 of 32




he knew that it was false or acted in reckless disregard of its truth or falsity, then you need proceed

no further and you should report it to the Court.

       Source: N.Y. Pattern Jury Instr. Civil 3:28 (modified).

       29. Defamation Damages

       I am now going to instruct you on the law of damages. The fact that I instruct you on the

law of damages must not be taken as an indication that you should decide for the plaintiff. You

will decide on the evidence presented and the rules of law that I have given you whether the

plaintiff is entitled to recover from the defendant.

       If you decide that the plaintiff is entitled to recover, you will award an amount as, in the

exercise of your good judgment and common sense, you decide is fair and just compensation for

the injury to plaintiff’s reputation and the humiliation and mental anguish in her public and private

life which you decide was caused by defendant’s statement. In fixing that amount you should

consider the plaintiff’s standing in the community, the nature of defendant’s statement made about

the plaintiff, the extent to which the statement was circulated, the tendency of the statement to

injure a person such as the plaintiff, and all of the other facts and circumstances in the case. These

damages cannot be proved with mathematical accuracy. Fair compensation may vary, ranging

from one dollar, if you decide that there was no injury, to a substantial sum if you decide that the

injury was substantial.

       Sources: N.Y. Pattern Jury Instr. Civil 3:29 (modified).

       30. Punitive Damages for Defamation

        The damages that I have discussed with you so far are called compensatory, because they

are intended to compensate for injury suffered by the plaintiff. In addition, plaintiff asks that you

award punitive damages. Punitive damages may be awarded to punish a defendant who has acted

maliciously and to discourage others from doing the same. A statement is made maliciously if it

                                                  26
        Case 1:22-cv-10016-LAK Document 102 Filed 03/30/23 Page 28 of 32




is made with deliberate intent to injure or made out of hatred, ill will, or spite or made with wilful,

wanton or reckless disregard of another’s rights. If you find that in making the statement about the

plaintiff, defendant acted maliciously, as I have just defined that term for you, you may, but are

not required to, award plaintiff punitive damages. If you find that defendant’s statement was not

made maliciously, as I have defined that term for you, you may not award punitive damages. The

burden of proving that defendant acted with malice is on the plaintiff.

       In reporting your verdict, you will state the amount, if any, awarded by you as punitive

damages.

       Source: N.Y. Pattern Jury Instr. Civil 3:30 (modified).


                                   CLOSING INSTRUCTIONS

       31. Duty to Deliberate

       You will now return to decide the case. In order to prevail on her claims, Ms. Carroll must

sustain her burden of proof as I have explained to you for each element of the complaint. If you

find that Ms. Carroll has succeeded for a given claim, you should return a verdict in her favor on

that claim. If you find that Ms. Carroll failed to sustain the burden on any element of one of her

claims, you should return a verdict against Ms. Carroll for that particular claim.

       It is your duty as jurors to consult with one another and to deliberate with a view to reaching

an agreement. Each of you must decide the case for himself or herself, but you should do so only

after a consideration of the case with your fellow jurors, and you should not hesitate to change an

opinion when convinced that it is erroneous. Your verdict must be unanimous, but you are not

bound to surrender your honest convictions concerning the effect or weight of the evidence for the

mere purpose of returning a verdict or solely because of the opinion of other jurors. Discuss and

weigh your respective opinions dispassionately, without regard to sympathy, without regard to


                                                  27
           Case 1:22-cv-10016-LAK Document 102 Filed 03/30/23 Page 29 of 32




prejudice or favor for either party, and adopt that conclusion which in your good conscience

appears to be in accordance with the truth.

       Again, each of you must make your own decision about the proper outcome of this case

based on your consideration of the evidence and your discussions with your fellow jurors. No juror

should surrender his or her conscientious beliefs solely for the purpose of returning a unanimous

verdict.

       Source: 4 Modern Federal Jury Instructions-Civil ¶ 78.01 (2022) (Instruction 78-3)

(modified).

       32. Juror Notes

       Your notes are for your personal notes only. Each of you may consult your own notes

during deliberations, but any notes you may have taken are not to be relied upon in deliberations

as a substitute for your collective memory. Your notes should be used as memory aids, but they

should not be given precedence over your independent recollection of the evidence. If you’re one

who did not take notes, you should rely on your own independent recollection, and you should not

be influenced by the notes of other jurors. The notes are entitled to no greater weight than the

recollection or impression of each of you as to what the testimony may have been.

       Source: Based on this Court’s instructions in Rapp v. Fowler, No. 20 Civ. 9586 (S.D.N.Y.).

       33. Quorum Requirement

       You’re not to discuss the case unless you’re all present. Four or five of you together is not

a jury. It’s simply a gathering of people who, by this time I hope, are fond of each other and

friendly, at least. Only when you’re all there are you a jury and only then may you deliberate.

       Source: Based on this Court’s instructions in Cerveceria Modelo de Mexico, S. de R.L. de

C.V. v. CB Brand Strategies, LLC, No. 21 Civ. 01317 (S.D.N.Y.).



                                                28
       Case 1:22-cv-10016-LAK Document 102 Filed 03/30/23 Page 30 of 32




       34. Selecting a Foreperson

       When you retire, you should elect one member of the jury as your foreperson. That person

will preside over the deliberations and speak for you here in open court.

       Source: 4 Modern Federal Jury Instructions-Civil ¶ 78.01 (2022) (Instruction 78-5).

       35. Verdict Form

       I have prepared a special verdict form for you to use in recording your decision. The special

verdict form is made up of questions concerning the important issues in this case. These questions

are to be answered “yes” or “no.” Your answers must be unanimous and must reflect the

conscientious judgment of each juror. You should answer every question except where the verdict

form indicates otherwise.

       Sources: 4 Modern Federal Jury Instructions-Civil P 78.01 (2022) (Instruction 78-9)

(modified); based on this Court’s instructions in Cerveceria Modelo de Mexico, S. de R.L. de C.V.

v. CB Brand Strategies, LLC, No. 21 Civ. 01317 (S.D.N.Y.).

       36. Instructions

       You’re going to have the instructions in writing. You’re going to find that the instructions

contain some legal citations here and there. They are included to aid the lawyers trying this case

and me. They are kind of my order trail as to where the principles of law I’m charging you on

came from, and let the lawyers know what I’m relying on. You need to ignore them.

       Source: Based on this Court’s instructions in Cerveceria Modelo de Mexico, S. de R.L. de

C.V. v. CB Brand Strategies, LLC, No. 21 Civ. 01317 (S.D.N.Y.).

       37. Reaching a Verdict

       Once you have reached a unanimous decision, you will record your answers on one copy

of the verdict form. As I say, the foreperson will fill it out. Each of you should sign the bottom.

The verdict form, with the signatures, should go into a sealed envelope. The foreperson will tell

                                                29
        Case 1:22-cv-10016-LAK Document 102 Filed 03/30/23 Page 31 of 32




the officers there’s a verdict, clutch the envelope to your heart, bring it into the courtroom when I

bring you back, and hold onto it until I ask you for it.

       Source: Based on this Court’s instructions in Rapp v. Fowler, No. 20 Civ. 9586 (S.D.N.Y.).

       38. Juror Questions

       Now if in the course of your deliberations you have questions about any instructions, the

foreperson should formulate a note. A note, the text of which is acceptable to all of you, and send

the note out in a sealed envelope through the officer.

       The pages and line numbers on the written copies that you will receive in the jury room are

there so that you can indicate the page and line numbers of the passage you’re asking questions

about. It’s important, if you can, that you indicate what pages and line numbers you’re asking

about. The procedure when I get a note is that I share the note with the lawyers, the lawyers have

an opportunity to be heard on the question of how the note ought to be answered. If everybody

agrees and that’s the answer, if everybody disagrees, I decide what the answer is. And the more

precisely we all understand what the question is all about and what you’re asking, the better able

we are to answer responsively and the more quickly we’re going to be able to do it.

       Source: Based on this Court’s instructions in Cerveceria Modelo de Mexico, S. de R.L. de

C.V. v. CB Brand Strategies, LLC, No. 21 Civ. 01317 (S.D.N.Y.).

       39. Requests for Testimony

       You are about to go into the jury room and begin your deliberations. You will have copies

of the exhibits with you. If during those deliberations you want any of the testimony to be read

back to you, you may request that. Please remember that it is not always easy to locate what you

might want, so be as specific as you possibly can in requesting portions of testimony.

       Your requests for exhibits or testimony – in fact any communication with the court – should

be made to me in writing, signed by your foreperson, and given to one of the marshals. In any

                                                  30
        Case 1:22-cv-10016-LAK Document 102 Filed 03/30/23 Page 32 of 32




event, do not tell me or anyone else how the jury stands on any issue until after a unanimous verdict

is reached.

       Source: 4 Modern Federal Jury Instructions-Civil ¶ 78.01 (2022) (Instruction 78-1)

(modified).

       40. Media

       This case has gotten a fair amount of media attention. Until a verdict is released or you

are discharged, you must insulate yourself from all information about this case, except what has

come to you in this courtroom. No reading, no watching, no listening to media coverage or

commentary about the case or comments from your friends or loved ones. You are sealed from

other information. And if anything happens that results in some exposure to some outside source,

you have to report it.

       Source: Based on this Court’s instructions in Rapp v. Fowler, No. 20 Civ. 9586 (S.D.N.Y.).

       41. Juror Oath

       I remind you that you took an oath to render judgment fairly and impartially, without

prejudice or sympathy, and without fear, solely upon the evidence in the case and the applicable

law; and I know you’re going to do that and reach a just and true verdict.

       Source: 4 Modern Federal Jury Instructions-Civil ¶ 71.01 (2022) (Instruction 71-4)

(modified).




                                                 31
